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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                         Plaintiffs,

           vs.                                             No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                         Defendant.


                    NOTICE OF WITHDRAWAL OF SEALING REQUEST

          Pursuant to the Court’s Order, Dkt. No. 1186, Defendant Google LLC (“Google”) hereby

  notifies the Court that it is withdrawing its request to seal Exhibit 15 attached to Plaintiffs’

  memorandum of law in support of their Motion for Adverse Inference.

          Google understands the Court’s admonishments and instructions regarding sealing, and is

  committed to the transparency of these proceedings. Therefore, Google no longer seeks continued

  sealing of Exhibit 15 in this case. Google has attached Exhibit 15 to this Notice in unredacted

  form.




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   Dated: August 22, 2024               Respectfully submitted,

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